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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

SHERRY ADAMS,

   Plaintiff,
                                            CASE NO.: 1:18-CV-03512-WMR
-vs-

PIONEER CREDIT RECOVERY, INC.,

   Defendant.
                                 /

                          NOTICE OF SETTLEMENT

       Plaintiff, Sherry Adams, by and through the undersigned counsel, hereby

notifies the Court that the parties have reached a settlement with regard to this case

and are presently drafting and finalizing the settlement agreement, and general

release or documents. Upon execution of the same, the parties will file the

appropriate dismissal documents with the Court.

                         CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing has been

furnished via electronic mail on this 6th day of December, 2018 to: Kirsten H.

Smith, Esquire, 3850 N. Causeway Blvd., Suite 200, Metairie, Lousiana 70002-

7227 (ksmith@sessions.legal).
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                            /s/Octavio Gomez
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